Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 1 of 78




             EXHIBIT “A”
  Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 2 of 78

                   STATE COURT OF BIBB COUNTY
                        STATE OF GEORGIA




                   CIVIL ACTION NUMBER 19-SCCV-089988
Wash, Charles

PLAINTIFF
                                           VS.
Bryant, Jason D.
Zipp Express, LLC
Great West Casualty Company

DEFENDANTS


                          SUMMONS
TO THE ABOVE NAMED DEFENDANTS:

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiffs attorney, whose name and address is:
                           David Dozier
                           Dozier Law Firm
                          327 Third Street
                           Macon, Georgia 31201
an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

This 20th day of May, 2019.
                                                 Clerk of State Court




                                        ~                   ~ e~-Clerk of State Court —
                                               Patricia M. Grav
                                                                 Bibb County, Georgia
             Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 3 of 78
                                                                                         ,~~~ EFILED IN OFFICE
                                                                                         CLERK OF STATE COURT
                                                                                         BIBB COUNTY, GEORGIA

                          IN THE STATE COU1aT OF BIBB CO><JNTY                       19-SCCV-089988
                                                                                                     JBH
                                   STATE O>F' GEOROIA                                   MAY 20, 2019 11:44 AM

                                                                                    —     ~                ~~..~
                                                                                         Patricfa M. Gra~es, lerk of Siate Court
                                                                                                          Bib6 County, Georgia
 CHARLES WASH,

        Plaintiff,                                    Civil Action No.

 v

 JASON D. BRYANT,
 ZIPP EXPRESS, LLC and
 GREAT WEST CASUALTY COMPANY,

        Defendants.

                          ORIGINAL COMPLAINT FOR DAMAGES

        COMES NOW, CHARLES WASH, by and through his undersigned attorney of record,

and hereby files this Complaint for Damages, respectfully showing this Honorable Court the

following:

                          PARTIES, JIJRISDACTIOlet, A1oTID VENITE



        The Plaintiff, CHARLES WASH, is a resident of Macon, Georgia, 31206 and is subject

to the jurisdiction and venue of this Court.

                                                2

       JASON D. BRYANT, (hereinafter "Defendant Bryant") resides at 7301 Sheena Lane,

Fairview, Tennessee, 37062, but is nonetheless subject to the jurisdiction and venue of this Court

pursua.nt to O.C.G.A. § 40-12-3.

                                                3.

       ZIPP EXPRESS, LLC (hereinafter "Defendant Zipp Express") is a foreign profit

corporation with its priiiciple office address located at 120 Caroline Way, Gallatin, Sumner
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 4 of 78




 Coiulty, Tennessee, 37066. Defendant Zipp Express maintains a registered agent at 120 Caroline

 Way, Gallatin, Stunner County, Tennessee, 37062; and is subject to the venue and jurisdiction of

 this Court purstiant to O.C.G.A. § 9-10-91.

                                                  4.

        At all relevant times to this Complaint, Defendant Bryant was an employee and/or agent

 of Defendant Zipp Express.

                                                  a
        GREAT WEST CASUALTY COMPANY (hereinafter "Defendant Great West"), is a

foreign insurance company with a principie office address of PO Box 277, 1100 West 29th

Street, South Sioux City, Dakota County, Nebraska, 68776-0277 and is authorized to do business

in the State of Georgia. Defendant Great West maintains a registered agent at 40 Technology

Parkway South #300, Norcross, Gwinnett Cotmty, Georgia, 30092; but is nonetheless subject to

venue and jurisdiction of this Court pursuant to O.C.G.A. § 33-4-1 and O.C.G.A. §40-1-112, et.

seq.

                                                  6.

       At all times relevant to this Complaint, Defendant Great West was the insurance carrier

for Defendant Zipp Express under insurance policy nuniber MCP12345D.

                            GEli'ERAL ALLLGATIONS ®F lli'ACT

                                                  7.

       Plaintiff re-alleges and incorporates herein the allegations contained in paragraphs 1

through 6 above as if they were fully restated.
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 5 of 78




                                                Do

         On May 22, 2017, at approximately 8:00 a.m., Plaintiff was driving a 2016 Nissan Altima

 (hereinafter "vehicle"), traveling east, in the left lane of Interstate 16 approaching Exit 6 in Bibb

 CoLulty, Georgia,

                                                     L]

        At the same time, Defendant Bryant, while acting as an agent and/or employee of

 Defendant Zipp Express, was operating a 2016 Freightliner, semi-truck (hereinafter "semi-

 ti-uck") in the right lane of Interstate 16, traveling east, and approaching Exit 6 in Bibb Cowity,

 Georgia.



        While approaching Exit 6, the Plaintiff moved from the left lane to the right lane and

began to decrease his speed as a result of slow moving traffic ahead of him.



        At this time, Defendant Bryant was traveling around a curve in the right lane of lnterstate

16. He began to brake as he rounded the corner and saw the slow-moving traffic ahead of him.

Defendant Bryant was unable to slow his semi-truck in enough time to avoid striking the rear of

the Plaintiff's vehicle as the Plaintiff changed lanes.

                                                 12.

       At all times relevant to this Complaint, the semi-truck that Defendant Bryant was

operating was owned and/or controlled by Defendant Zipp Express,

                                                13.

       At all times relevant to this Complaint, the semi-tnick that Defendant Bryant was

operating was used to move persons or goods for profit.
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 6 of 78




                                                  15.

         At all titnes relevant to this Coniplaint, Defendant Zipp Express was engaged in the

 transportation of persons or property as a common or contract carrier.

                                                 16.

         Defendant Zipp Express's semi-truck that Defendant Bryant was operating at the time of

 the aforementioned accident was, at all times relevant to this Complaint, insured by the

 Defendant Great West's insurance policy, identified by policy number: MCP12345D.

                                                 17.

         As a proximate and foreseeable result of the aforementioned accident, Plaintiff sustained

seriotis injtiries.

                                                 1 s.

        The aforementioned accident was directly and proximately caused by the negligence of

Defendant Bryant and Defendant Zipp Express.

                      C®1{TNT fl: NEGLIGENCE OF DEFEl'+1DANT B>fti'ANT

                                                 19.

        Plaintiff hereby incorporated all of the allegations contained in paragraphs 1 through 18

above as if they were fully restated.

                                                20.

        At all times relevaiit to this Complaint, Defendaiit Bryant had a duty to operate the semi-

tnick in a reasonable and prudent fashion.

                                                21.

        On May 22, 2017, Defendant Bryant breached the aforementioned duty and was

negligent and negligent per se by:
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 7 of 78




            a) Following too closely in violation of O.C.G.A. § 40-6-49;

            b) Failing to keep a proper lookout;

            c) Failing to make a tiniely and proper application of his brakes;

           d) Failing to sound or signal a warning;

           e) Failing to exercise due care in violation of O.C.G,A § 40-6-241; and

           f) Otherwise failing to obey the Uniform Rules of the Road for the State of Georgia.

         CflIJN'I' II: VICARIDUS LIABII.ITY 0F DEFENDAN'I' ZIPP EXPRtESS

                                                22.

       Plaintiff hereby incorporated all of the allegations contained in paragraphs 1 through 21

above as if they were fully restated.

                                                23.

       At all times relevant to this Complaint, Defendant Bryant was the employee andlor agent

of Defendant Zipp Express.



       At all times relevant to this Complaint, Defendant Bryant was acting within the scope of

his employment or agency relationship with Defendant Zipp Express.

                                                25.

       Defendant Zipp Express is liable to Plaintiff for all damages sustained as a result of the

negligence of Defendant Bryant under the theory of respondeat superior.
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 8 of 78




               COUNT III: NFGI.yGI:NCF OF DEFENDAIVT ZIP;f' EXPP.ESS

                                                 26.

        Plaintiff hereby incorporated all of the allegations contained in paragraphs 1 through 25

above as if they were fully restated.

                                                 27.

        Under Federal and State law, Defendant Zipp Express is required to investigate into the

knowledge, experience, and past safety record of all of its employees whom operate motor

vehicles as employees and/or agents of Defendaiit Zipp Express.

                                                N-3

        Defendant Zipp Express negligently failed to follow the Federal and State regulations

regarding the hiring and retention of employee and/or agent Defendant Bryant.

                                                FM

       Fui-ther, Defendant Zipp Express had actual knowledge that Defendant Bryant lacked the

ability to safely operate a semi-truck on or before May 22, 2017.

                                                30.

       As a result of the aforementioned knowledge, Defendant Zipp Express had a duty not to

entrust a semi-truck to Defendant Bryant.

                                                31.

       On or before May 22, 2017, Defendant Zipp Express breached the aforementioned duty

by entrtisting the semi-truck to Defendant Bryaiit.
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 9 of 78




           COIJNT IV: LIABILITY OF GREi AT WEST CASI7AI,TY COMI'Al'dY

                                                  32,

        Plaintiff hereby incorporated all of the allegations contained in paragraphs 1 througli 31

above as if they were fully restated.

                                                  33.

        Defendant Zipp Express was, at all times relevant to this Complaint, a common or

contract carrier under Federal Law and Georgia Law.

                                                  34.


        Defendant Great West was, at all times relevant to this Complaint, the insurance provider

for Defendant Zipp Express.

                                                  35.


        As the insuraiice provider for Defendant Zipp Express, Defendant Great West is directly

actionable by Plaintiff for the damages Plaintiff sustained in the incident that gives rise to this

Complaint.

                                   I9AIVIAGES ®F PLAINTIFF



       Plaintiff hereby incorporated all of the allegations contained in paragraphs 1 through 35

above as if they were fully restated.

                                                 37.

       As a direct aiid proximate result of the negligence of Defendaiit Bryant and Defendant

Zipp Express, Plaintiff sustained personal injuries that required medical treatment and resulted in

necessary medical expenses in excess of $70,000.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 10 of 78




                                                  3 g.

        Further, and as a direct and proximate result of the negligence of Defendant Bryant and

Defendant Zipp Express, Plaintiff suffered lost wages in excess of $ 1.00.

                                                 39.

        Plaintiff also shows that, as a direct and proximate result of the injuries directly and

proximately caused by the negligence of Defendant Bryant and Defendant Zipp Express,

Plaintiff has experienced pain and suffering and a great limitation of movement, and, so far as he

now knows, he will always suffer fa•om said inj uries.

                                                 40.

       The Plaintiff is entitled to recover damages from the Defendants necessary expenses

incurred pursuant to O.C.G.A. § 51-12-7.

                                                 41.

       Plaintiff is entitied to recover from the Defendazits special darnages for medical expenses

to the extent permitted by law, all of which will be specifically pled by an appropriate

amendment to this CompIaint.

                                                 42.

       Furthermore, Plaintiff shows that the Defendant has acted in bad faith, been stubbornly

litigious, and has made an unreasonable defense to these allegations, and, therefore, Plaintiff is

entitled to recover attorney fees ptrsuant to O.C.G.A. § 13-6-11.

                                                 43.

       In addition to the aforementioned damages, Plaintiff has suffered and will incur the

following damages:

           a) PersonaI injuries;
 Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 11 of 78




   b) Pain and suffering;

   c) Mental anguish;

   d) Loss of capacity for the enjoyment of life;

   e) Incidental expenses;

   I) Lost wages;

   g) Travel expenses for seeking medical ts•eatmeiit;

   h) Permanent injury.

                                        44.

WHEREFOP.F, Plaintiff prays:

   a) That he have a trial by a jury;

   b) T'hat summons be issued as required by law;

   c) That he have a judgrnent against Defendants for the amount of his medical

      expenses to date, and those expenses to be reasonably incurred in the future;

  d) That he have judgment against Defendants for his bodily injuries and pain and

      suffering in an aniount to be determined by a jury to be adequate and just;

  e) That he have a judgment against Defendants for cornpensatory, general, specific,

      incidental, economic, non-economic, consequential, punitive and/or other

      damages permitted by law.

  f) That all cost of this action be assessed against Defendants; and

  g) That the Court grant such other and further relief as is deemed appropriate.



                [SIGNATUR.E ON THE FOLLOWfi'4G PAGE]
         Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 12 of 78




       Respectfully submitted this 1!~    day of ~`{              —, 2019.




                                                        llavid Dozier
                                                        GA Bar 1tiTo. 228898
                                                        Attorney for Plaintiff



DOZIER LAW FIRM, LLC.
327 Third Street
P. O. Box 13
Macon, Georgia 31202-00I3
(478)742-8441


         DEF'ENDAN'1' W1LL BE SERVED PdIRSL1AiVT TO ®.C.G.A § 40-12-3

                                       Jason Bryant
                                     7301 Slieena Ln
                                   Fairview, TN 37062

                                    4030 Salty Marsh
                                 Saii Antonio, TX 78245

        DEFEltiiDAN'1' WIEE BE SERVED P1JRSUAP+1T 'I'O O.C.G.A. § 9-I0-91:

                                   Zipp Express, LLC
                                   120 Caroline Way
                                   Gallatin, TN 37066

       DEFENDAi,tT WIEL BE SERVEI7 ;PUItS?UAPI'I' 'TO ®.C.G.A § 14-2-1510:

                             Great West Casualty Company
                             Corporation Service Company
                            40 Tecluiology Pkwy South #300
                                  Norcross, GA 30092
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 13 of 78
                                                                                                   , EFlLED IN OFFICE
                                                                                                   CLERK OF STATE COURT
                                                                                                   BIBB COUNTY, GEORGIA

                                                                                            -.
                                                                                                 1 9®SCCV®089988
                        ~         _       .   •~   :~. ~   t~; ,    3, • ~ ;~1- '..   ~ :                      JBH
                                                            •~ ~~          k                      MAY 20, 2019 11:44 A!4t


                                                                                                    Patricia M. G~lerk ot Slmte Court
                                                                                                                   6ibb County, Georgia
 CHARLES WASH,

        Plaintiff,                                         CiviI Action No.

VA



JASON D. BRYANT,
ZIPP EXPRESS, LLC, and
GREAT WEST CASUALTY COMPANY,


       Defendants.




       Pursuant to Uniforzn tZule 5.2(2), this is to certify that aIl parties to this action were

served with copies of the ORIGINAL COMPLAINT, PLAINTIFF'S FIRST REQUEST FOR

ADMISSIONS TO DEFENDANTS, PLAINTIFF'S FIRST I.NTERROGATORIES TO

DEFENDANTS, and PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUME.NTS

TO DEFENDANTS.

       Said service was made on the defendant by a deputy or other authorized agent of the

Sheriff's Department of the County in which the defendant resides or by any other individual so

authorized by the Georgia Civil Practice Act, and was served contemporaneously with a copy of

the CompIaint and Stuxunons in a manner consistent with the requirements of O.C.G.A. § 9-11-4.



                            [SIGNATURE ON THE FOLLOWING PAGE]
         Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 14 of 78




                               ~

P.espectfully submitted this       day of          ~                 _ 2019.




DOZIER LAW FIRM, LLC                        ~    ' ✓                           i   ~   ~
327 Third Street                                id Dozier ~
P.O. Box 13                                 Georgia Bar No. 228898
Macon, Georgia 31202-0013                   Attorney for Plaintiff
Phone: (478) 742-8441
              Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 15 of 78

p                                                                                                ~~~~ EFILED IN OFFICE
                                                                                                 CLERK OF STATE COURT
                                                                                                 BIBB COUNTY, GEORGIA

                              IIV THE STATE C®ITRT OI+ BIBB COUN'I'Y
                                                                                            1 9-SCCV-089988
                                                                                                         JBFI
                                        STA'I'E OF GEORGIA                                      MAY 20, 2019 11:44 .4EUd

                                                                                         ____ ~- —__                  ~
                                                                                                  Patricia PA. Graves, lerk of State Court
                                                                                                                   Bibb Coun:y, Georgia
    CHARLES WASH,

            Plaintiff,                                     Civil Action No.

    v


    JASON D. BRYANT,
    ZIPP EXPRESS, LLC, and
    GREAT WEST CASUALTY COMPANY,

           Defendants.


                         PLAINTI1F'I+''S FIIZST REQITEST FOR ADMISSIONS TO
                                 DLFENUAN'T ZIPP EXPRESS, LLC


           COMES NOW, CHARLES WASH, Plaintiff in the above-captioned case, and, pursuant

    to O.C.G.A. §9-11-36(a), requests the above-named Defendant, Zipp Express, to admit the

    following in writing as required by statute:

                                    REQIJES'I' FOR ADMISSIONS



           You have been correctly named in the present cause insofar as the legal designation of
    names is concerned.

                                                     2.

           You have been properly served as a paily defendant.

                                                     3.

           Process and service of said process is sufficient with regard to you in this case.

                                                    4.

           Bibb County State Court has jurisdiction over the subject matter of this case.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 16 of 78




                                                 a
        Bibb County State Court has personal jurisdiction over you as a pai-ty in this case.

                                                 Q

        Venue is proper in Bibb County State Court,

                                                 7.

        Admit that, at the time of the ivlay 22, 2017, motor vehicle collision that forms the basis

 of Plaintiff's Complaint, Defendant Jason Bryant was an employee and/or agent of Zipp Express.

                                                 ,~


        Admit that, at the time of the May 22, 2017, inotor vehicle collision that forms the basis

of Plaintiff's Complaint, Defendant Bryant was acting under the course of his employrnent with

Zipp Express.

                                                a

        Admit that you were negligent in entrusting a semi-truck to Defendant Bryant.

                                                [[la

        Admit that you were negligent by hiring and retaining Defendant Bryant as an employee

and/or agent.

                                                11.

       Admit that your negligence in enti-usting a semi-truck to Defendant Bryant directly and

proximately caused some injury to Plaintiff.

                                               12.

       Admit that your negligence in entrusting a semi-truck to the Defendant Bryant directly

and proximately caused the injuries alleged in Plaintiff's Complaint.
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 17 of 78




                                                 13.

         Admit that yotir negligence in hiring and retaining Defendant Bryant as an employee

and/or agent directly and proximately caused some injury to Plaintiff.

                                                 14.

         Admit that your negligence in hiring aiid retaining Defendant Bryant as an employee

and/or agent directly and proximately caused the injin-ies alleged in Plaintiff s Complaint.

                                                 15.

        Admit that Defendant Bryant was negligent in operating the semi-truck during the May

22, 2017, motor vehicle collision that forms a basis for Plaintiff s Complaint.

                                                 16,

        Admit that Defendant Bryant's negligence directly and proximately caused some injury

to Plaintiff.

                                                 vi
        Admit that Defendant Bryant's negligence directly and proximately caused the injuries

alleged in Plaintiff s Complaint.

                                                18.

        Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

Plaintiff s Complaiiit, Defendant Bryant followed too closely, in violation of O.C.G.A. § 40-6-

0

                                                 19.

        Admit that as a restilt of following too closely, Defendant Bryant caused the May 22,

2017 motor vehicle collisioii that forms the basis of the Plaintiff s Complaint.
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 18 of 78




          Admit that, during the May 22, 2017, motor vehicle collision that fornis the basis of

Plaintiff's Complaint, Defendant Bryant failed to keep a proper lookout.

                                                  21.

          Admit that Defendant Bryant's failure to keep a proper lookout caused the May 22, 2017,

motor vehicle collision that forrns the basis of the Plaintiff's Complaint.

                                                  22.

          Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

Plaintiff's Complaint, Defendant Bryant failed to make a timely and proper application of his

brakes.

                                                 23.

          Admit that Defendant Bryant's failure to make a timely and proper application of his

brakes caused the May 22, 2017, motor vehicle collision that forms the basis of the Plaintiff's

Complaint.

                                                 24.

          Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

Plaintiffs Complaint, Defendant Bryant failed to sound a signal or warning.

                                                 25.

          Admit that Defendant Bryant's failure to sound a signal or warning caused the May 22,

2017, motor vehicle collision that fornis the basis of the Plaintiff s Complaint.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 19 of 78




                                                  26.

        Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

Plaintiff's Complaint, Defendant Bryant failed to exercise due care in violation of O.C.G.A. §

40-6-241.

                                                  27.

        Admit that Defendant Bryant's failure to exercise due care caused the IVIay 22, 2017,

motor vehicle collision that forms the basis of the Plaintiff's Complaint



        Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of the

Plaintiff s Cornplaint, Defendant Bryant failed to obey the Uniform Rules of the Road of the

State of Georgia.

                                                 30.

        Admit that Defendant Bryant's failure to obey the Uniform Rules of the Road of the State

of Georgia caused the May 22, 2017 motor vehicle collision that forms the basis of the Plaintiff's

Complaint.

                                                  31.

        Admit that your employee, Defendant Bryant, caused the May 22, 2017, motor vehicle

collision that forms the basis of Plaintiff's Coinplaint.

                                                 32.

       Admit that you are liable for the negligence of Defendant Bryant under the doctrine of

r•espondeat superiof•.
        Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 20 of 78




                                            33.

      Admit that you are liaole as a joint tortfeasor for the injuries alleged in Plaintiffs

Complaint.




                      [SIGNATURE ON THE POLLOWIlVG PAGE]
        Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 21 of 78




            c full
        e spe
       IZ                                 day of
               t y subniitted this !~t 1~,_             ~            _, 2019.




                                                   David Dozier
                                                   Georgia Bar No. 228898
                                                   Attoi-ney for Plaintiff




DOZIER LAW FIRM, LLC.
327 Third Street
P. O, Box 13
Macon, Georgia 31202-0013
(478) 742-8441
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 22 of 78

                                                                                             ~~=' EFILED IN OFFICE
                                                                                             CLERK OF STATE COURT
                                                                                             BIBB COUNTY, GEORGIA

                          IN THE STATE COU32T ®k' BIBB C®vNTY
                                                                                        1 9-SCC'V-®89988
                                                                                                         JBF!
                                   STEITE OF OEORGIA                                        f1ftlAY 20, 2019 11:44 AM


                                                                                              Patr~A. Graves, lerk of State Court
                                                                                                             Bibh Coun.y, Gecrgia
 CHARLES WASH,

        Plaintiff,                                    Civil Action No.

v

JASON D. BRYANT,
ZIPP EXPRESS, LLC, and
GREAT WEST CASUALTY COMPANY,

       Defendants.


                     PLAIN1'IFF'S FIRST REQUEST FOR ADMISSI!ONS T®
                      DEFENDAN'I' GR-Ei AT WEST CASUALTY COMPANY


       COMES NOW, CHARLES WASH, Plaintiff in the above-captioned case, and, pursuant

to O.C.G.A. §9-11-36(a), requests the above-named Defendant, Great West Casualty Company,

to admit the following in writing as required by statute:

                                REQUEST FOR AD1!^lISSIDNS



       Yoii have been correctly named in the present cause insofar as the legal designation of
names is concerned.

                                                 2.

       You have been properly served as a party defendant.
                                                 ,
                                                 ~.

       Process and service of said process is sufficient with regard to you in this case.

                                                 4.

       Bibb County State Court has jurisdiction over the subject matter of this case.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 23 of 78




                                                 a
        Bibb County State Court has personal jurisdiction over you as a party in this case.

                                                 6.

        Venue is proper in Bibb County State Coui-t.

                                                 7.

        Admit that, at the time of the May 22, 2017, motor vehicle collision that fornis the basis

of Plaintiff s Complaint, Defendant Jason Bryant was an employee and/or agent of Zipp Express.



        Admit that, at the time of the May 22, 2017, motor vehicle collision that forms the basis

of Plaintiff's Cornplaint, Defendant Bryant was acting under the course of his employment with

Zipp Express.

                                                a
       Admit that Zipp Express was iiegligent in entrusting a semi-truck to Defendant Bryant.



       Admit that Defendant Zipp Express was negligent by hiring and retaining Defendant

Bryant as an employee and/or agent.



       Admit that Defendant Zipp Express's negligence in entrusting a semi-truck to Defendant

Bryaiit directly and proximately caused some injury to Plaintiff.

                                                12,

       Admit that Defendant Zipp Express's negligence in entrusting a semi-tn2ck to Defendant

Bryant directly and proximately caused the injuries alleged in Plaintiff's Complaint.
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 24 of 78




                                                13.

        Admit that Defendant Zipp Express's negligence in hiring and retaining Defendant

Bryant as an employee and/or agent directly and proximately caused some injury to Plaintiff.

                                                14.

        Admit that Defendant Zipp Express's negligence in hiring and retaining Defendant

Bryant as an employee and/or agent directly and proximately caused the injuries alleged in

Plaintiff's Complaint.

                                                15.

        Admit that Defendant Bryant was negligent in operating the semi-truck during the May

22, 2017, motor vehicle collision that forms a basis for Plaintiff's Complaint.

                                                16.

        Admit that Defendant Bryant's negligence directly and proximately caused some injury

to Plaintiff.

                                                17.

        Admit that Defendant Bryant's negligence directly and proximately caused the injuries

alleged in Plaintiff's Complaiiit.

                                                18.

        Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

Plaintif#'s Complaint, Defendant Bryant followed too closely, in violation of O.C.G.A. § 40-6-



                                                19.

        Admit that as a result of Defendant Bryant following too closely, he caused the May 22,

2017, motor vehicle collision that forms the basis of the Plaintiff's Complaint.
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 25 of 78




                                                  20.

          Adtnit that, during the May 22, 2017, motor vehicle collision that forms the basis of

 Plaintiff's Complaint, Defendant Bryant failed to keep a proper lookout.

                                                  21.

          Adniit that Defendant Bryant's faihire to keep a proper lookout caused the May 22, 2017,

motor vehicle collision that forzns the basis of the Plaintiff s Complaint.

                                                 22.

          Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

Plaintiff's Complaint, Defendaiit Bryant failed to make a timely and proper application of his

brakes.

                                                 23.

          Admit that Defendant Bryant's failure to make a timely and proper application of his

brakes caused the May 22, 2017, motor vehicle collision that fonns the basis of the PIaintiff s

Complaint.

                                                 24.

          Admit that, during the i'V1ay 22, 2017, motor vehicle collision that forms the basis of

Plaintiff's Complaint, Defendaiit Bryant failed to soicnd or signal a warning.

                                                 25.

       Admit that Defendant Bryant's failure to sound or signal a warning caused the May 22,

2017, motor vehicle collision that forms the basis of the Plaintiff s Complaint.
                Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 26 of 78

,



                                                    26.

            Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

    Plaintiff's Complaint, Defendant Bryant failed to exercise due care, in violation of O.C.G.A. §

    40-6-241.

                                                    27.

            Admit that Defendant Bi-yant's failure to exercise due care caused the May 22, 2017,

    motor vehicle collision that forms the basis of the Plaintiff s Complaint

                                                     :

           Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

    Plaintiff's Complaint, Defend-cuit Bryant failed to obey the Uniform Rules of the Road of the

    State of Georgia.

                                                    aa
           Admit that Defendant Bryant's failure to obey the Uniforni Rules of the Road of the State

    of Georgia caused the May 22, 2017, motor vehicle collision that forms the basis of the

    Plaintiff s Complaint.

                                                   30.

           Admit that Defendant Zipp Express's employee, Defendant Bryant, caused the May 22,

    2017 motor vehicle collision that foims the basis of Plaintiff's Complaint.

                                                   31.

           Adrnit that Zipp Express is liable for the negligence of Defendant Bryant under the

    doctrine of respondent superior.
        Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 27 of 78




                                            32.

      Admit that you are liable as a joint tortfeasor for the injuries alleged in Plaintiff's

Complaint.



      RESI'G?i'D AS REQUIRE,D BZ' LAW



                      [SIGNATURE ON THE FOLLOWING PAGE]
        Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 28 of 78



                                       W r
      Respectf-ully subm itted thi s    i~ ~ day of _                       , 2019.




                                                        David Dozier                  ~
                                                        Georgia Bar No, 228893
                                                        AtLorney for Plaintiff




DOZIER LAW FIR1V1, LLC.
327 Third Street
P. O. BoY 13
Macon, Georgia 31202-0013
(478) 742-8441
              Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 29 of 78
    .
,                                                                                             ~~°' EFILED IN OFFICE
                                                                                             CLERK OF STATE COURT
                                                                                             BiBB COUNTY, GEORGIA

                             IN THE S'I'A`I'E C®IJRT ®F BIBS C®g1NT'I'
                                                                                          1 !9mSCCV-®89988
                                                                                                      JBFS
                                        STATE OF GEORGIA                                    iV3AY 20, 2019 1 1:44 AiUi


                                                                                              Patri~
                                                                                                   M. Graves, ler~e Court
                                                                                                         Bb6 Coun:y, Georgia
     CHARLES WASH,

            Plaintiff,                                    Civil Action No.

     v

     JASON D. BRYANT,
     ZIPP EXPRESS, LLC, and
     GREAT WEST CASUALT'Y COMPANY,

            Defendants.


                  I'i,AYNT'IFF'S FIRS'I' INTERRC3GAiT®RIES 'I'® ➢3EFEP~,TDAN'I'
                                         JASOl'd D. B1R.YAlVT


            COMES NOW CHARLES WASH, Plaintiff in the above-captior~ed case, and hereby

    requires that the above-named Defendant, Jason Bryant, answer under oath and in writing the

    following interrogatories within thirty (30) days from the date of service as provided by

    O.C.G.A. § 9-11-33 a.nd that a copy of the answers be furnished to Plaintiff's attorney, David

    Dozier, P.O. Box 13, Macon, GA 31202.

           IVOTiE A: When used in these interrogatories, the term Defendant or any synonym

    thereof is intended to and shall embrace and include, in addition to the said Defendant, all agents,

    servants, representatives, private investigators and others who are in a position for or may have

    obtained information for or on behalf of the Defendant,

           hiO'T'E fl3: These interrogatories shall be deemed continuing to the extent required by law.

    You are requested to (1) seasonably supplement any response directed to the identity and

    location of persons having laiowledge of discoverable matters, as well as the identity of each

    person expected to be called as an expert witness at trial, the subject matter of which he is
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 30 of 78




expected to testify aiid the substance of his testimony; and (2) amend any prior response if you

subsequently learn that the original response was incorrect, or if you learn that although correctly

made, the original response is no longer true and the circumstances are such that a failure to

amend the response is, in substance, a Ialowing concealiiient.

                                  GENERAL .INFOI'dli'IATI®N



       State your full name, birth date, marital status, social security number, and the names and

addresses of aiiy relatives you have in the county in which the above-captioned action is pending.



       State your residence address, including any apartment number, and the address aiid

period of time you lived at each residence for the previous five (5) years.

                                                 3.

       Identify each of your employers for the past five (5) years, the position and job duties you

held with each such employer and the reason for your change of employment.

                                                m

       If you have ever been arrested, state the date, place and charges made in each such anest,

and, if convicted, the date thereof and the court in which such charges were brought.

                                                5.

       If, within the twelve (12) hour period inunediately preceding the accident, you consumed

any drug or alcoholic beverage, state the quantity consumed, the time it was consumed, and the

place where it was constimed.
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 31 of 78




                                                     .Q

         Did you have a valid driver's license at the time of the subject accident and does it

 remain valid? If so, were there any restrictions on said driver's license?

                                                     7.

         If you have been involved in any other motor vehicle accidents, identify each accident by

 date, place, atid liow said accident occurred.



        If you have been a party to any action (other than this action), please describe each such

 action, giving the date of each such action, the court in which it was brought, and the names of

other parties to each such action.

                                                    9.

        Identify each insurance company, including excess carriers and umbrella coverages,

which might be liable to satisfy all or part of any judgment which may be entered in this action,

and for each insurer give the following inforniation:

                    (A) Nanie and address of company;

                    (B)   Limits of liability coverage;

                    (C)   Policy number; and

                    (D)   Named of insured.

                                     VEHICLE INFORMATIDN

                                                   10.

       Identify all owners and lessors of the semi-truck you were operating at the time of the

subject accident.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 32 of 78




        If you were not the servant, agent or employee of the owner of the semi-truck you were

operating at the tinie of the accident, state the circumstances under which you were operating the

vehicle at the time of the subject accident,

                                                 12.

        How long had you operated this semi-truck?

                                                 13.

        When did you malce the last inspection of the semi-truck prior to the collision?

                                                 14.

        If at any time between the last inspection prior to the subject accident and the date of the

subject accident, if the semi-truek you were driving had any mechanical defects, state the nature

of the defects.

                                                15.

        What was the extent of the daniage the semi-truck you were driving sustained as a result

of the collision, giving the time of loss of use, cost of repair and who repaired the semi-truck?

                                  WITNESS INF'aRMA'TION

                                                16.

       What are the names, addresses, home telephone numbers, places of employment and

present whereabouts of all witnesses known to you who saw or claim they saw all or any part of

the occurrence complained of in this action?
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 33 of 78




                                               17.

        What are the names, addresses, home telephone mlmbers, places of employment and

present whereabouts of all witnesses known to you who arrived at the scene of the occurrence

coniplained of in this action immediately or shortly after its occurrence?



        What are the names, addresses, home telephone numbers, places of employment, and

present wliereabouts of all witnesses l:iiown to you having knowledge of relevant information,

facts or circumstances in this action?

                                                 19.

        Identify all persons who witnessed you consume any drug or alcoholic beverage within

the twelve (12) hour period inunediately preceding the subject accident.

                                                 NO

       Identify all persons who have furnished statements, signed or unsigned, to you, your

representative or attorney.

                                                 21.

       Pursuant to the provisions of O.C.G.A. § 9-11-26 (b)(4)(A)(i), Defendant is

requested to identify each person whom Defendant expects to call as an expert witness at trial,

state the subject matter on wrhich such expert is expected to testify, and state the substance of the

facts and opinions to wliich the expert is expected to testif~ and the summary of the grounds of

each opinion.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 34 of 78




                                                   22.

        If you have retained or employed aii expert in anticipation of litigatioii or preparation for

trial who is not expected to be called as a witness at trial, please identify a.nd state specifically

the name and address of each such expert.

                                  COLLISION INl"'ORIVIA'I'ION

                                                   23.

        Where had you been prior to the subject accident, where were you going at the tirne of

the subject accident, and what time were you due to ai-rive at your destination?

                                                   24.

        What speed do you contend the semi-truck in which you were driving was traveling at the

tiine of the accident?

                                                   25.

       State in detail your version of how the subject accident occurred, including what you did

to avoid the accident, and whether at the first moment you saw Plaintiff's vehicle it was stopped

or moving, and its direction and speed if it was moving.

                                                   26.

       State the substance of every utterance made by you or to you at the scene of the

accident and identify the speaker by name, if known, or by any other facts which might

lead to the discovery of the speaker's identity.

                                                   27.

       If you received a citation of any sort as a result of this accident, state the nature of same,

the dispositions made and the cotu-t involved.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 35 of 78




       To your knowledge, information or belief, are there any photographs, drawings, or videos

of the scene of the incident complained of, any vehicle or other physical object involved in the

incident, or any person (including any party) involved in the incident? If so, please describe each

individual photograph, drawing, or video with specificity, including, but not lirnited to, the date

made, by whom it was made, the form (whether photographic print, transparency, diagram, plat,

video, etc.), the subject represented, all facts represented or shown, and the present location and

the name of the person having possession, custody or control.

                                                 29.

        Were you familiar with the general area where this accident occurred?

                                                 30.

       Identify every act by which you claim the Plaintiff unreasonably exposed himself to a

foreseeabie risk of injury.

                                                 31.

       Identify every other act or event which supports each affirmative defense that you raise.

                                                 32.

       Are you a member of a social networking website (i.e. Facebook, IVlyspace, Twitter,

Instagrani etc.)? If so, please identify the particular social networking website, your username,

and whether your profile is public or private.

                                                 33.

       At the time of the collision which forms the basis of Plaintiff's Complaint, were you in

possession of a mobile commuziications device? If so, please state the type of device, the phone

nurnber associated with that device, and the provider.
         Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 36 of 78




RESPGND AS REQUIRED BI' LAW




                              .~
Respectfully submitted this   ~ ~~   day of                      2019.




                                                /
                                                i      v& A       /    C~ "-t
                                                David Dozier                    ~
                                                Georgia Bar No. 228898
                                                Attorney for Plaintiff




DOZIER LAW FIR.M, LLC
327 Third Street
P. O. Box 13
Macon, Geortria 31202-0013
(478) 742-8441
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 37 of 78

                                                                                           ~1" EFILED IN OFFICE
                                                                                           CLERK OF STATE COURT
                                                                                           BIBB COUNTY, GEORGIA

                         IN THIE STATE COURT OF BTBB COUNTY
                                                                                       1 9aSCCV®®89988
                                                                                                        JBH
                                   STATE 47F GEORG;tA                                     MAY 20, 2019 11:44 AM


                                                                                     --     ~~~.Q,..~d                           _—
                                                                                           Patricia 64. Grave , lark of State Court
                                                                                                            L3ihh County, Geargia
 CHARLES WASH,

        Plaintiff,                                     Civil Action No.

u

JASON D. BRYANT,
ZIPP EXPRBSS, LLC and,
GREAT WEST CASUALTY COMPANY

        Defendants.


               PLAIN'3'IEP'S ;F'IRST INTERROGATORJES TO DEFENDANT
                                   ZJPP EXPRESS, L•LC


        COMES NOW CHARLES WASH, Plaintiff in the above-captioned case, and hereby

requires that the above-named Defendant, Zipp Express, answer under oath and in writing the

following interrogatories within 30 days from the date of service as provided by O.C.G.A. § 9-

11-33 and that a copy of the answers be furnished to plaintiff's attorney, David Dozier, P.O. Box

13, Macon, GA 31202.

       NO'I'E A: When used in these interrogatories, the term defendant or any synonym thereof

is intended to and shall enibrace and include, in addition to the said defendant, a11 agents,

servants, representatives, private investi gators
                                           In     and others who are in a position for or may have

obtained information for or on behalf of the defendant.

       NO'I'E B: These interrogatories shall be deemed continuing to the eYtent required by law.

You are requested to (1) seasonably supplement any response directed to the identity and

location of persons having knowledge of discoverable matters, as well as the identity of each

person expected to be called as an expert witness at trial, the subject matter of which he is
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 38 of 78




 expected to testify and the stibstance of his testimony; and (2) aniend any prior response if you

 subsequently learn that the original response was incorrect, or if you learn that although correctly

 made, the original response is no longer true and the circtunstances are such that a failure to

amend the response is, in substance, a knowing concealment.

                                   GENLRAL INiF'®lEZIaIATI®lmf




        State the names and addresses for any officers, directors, shareholders, agents, and

employees of your company who reside in the courity in which the above-captioned action is

pending.

                                                  ~

        State the address of yotu• principal offices, and any oftices you maintain within the State

of Georgia.

                                                 ~
                                                 ~.

        If, within the twelve (12) hour period immediately preceding the accident, your employee

and/or agent, Defendant Bryant, corisumed any drug or alcoholic beverage, state the quantity

consumed, the time it was consumed, and the place where it was consumed.

                                                 n

       Did Defendant Bryant, your employee who was driving the semi-truck owiied by you at

the time of the subject collision, have a valid driver's license at the time of the subject accident

and does it remain valid? If so, were there any restrictions on said driver's license? .

                                                 5.

       If your company has been involved in any other motor vehicle accidents in the past ten

years, identify eacli accident by date, place, and how said accident occurred.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 39 of 78




                                                6.

        If your company has been a party to any action (other than this action), please describe

each such action, giving the date of each such action, the court in which it was brouglit, and the

naiiies of other parties to each such action.

                                                7.

        Identify each insurance company, iricluding excess carriers and umbrella coverages,

which miglit be liable to satisfy all or part of any judgment which may be entered in this action,

and for each insurer give the following information:

        (A)    Name and address of company;

        (B)    Limits of liability coverage;

       (C)     Policy number; and

       (D)     Named of insured.

                                   VE3aICi<.,E INlli'ORMATIO11

                                                8.

       Identify all owners and lessors of the semi-truck which was operated by Defendant

Bryant, at the time of the subject accident.

                                                a
       How long had this particular senii-truck been in operation?



       When did you make the last inspection of the semi-truck prior to the collision?
         Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 40 of 78




       If, at any time between the last inspection prior to the subject accident and the date of the

subject accident, the semi-ti-uck you owned that was involved in the subject accident had any

mechanical defects, state the nature of the defects.

                                                12.

       What was the extent of damage sustained to the semi-truck you owned as a result of the

collision, giving the time of loss of use, cost of repair and who repaired the vehicle?

                                  WI'TIVESS INF®I1MATI0N

                                                13.

       What are the names, addresses, home telephone numbers, places of employment and

present whereabouts of all witnesses known to you who saw or claim they saw all or any part of

the occurrence complained of in this action?

                                                14.

       Wliat are the names, addresses, home telephone numbers, places of employment and

present whereabouts of all witnesses known to you who arrived at the scene of the occurrence

complained of in this action immediately or shortly after its occurrence?

                                                15.

       What are the names, addresses, home telephone numbers, places of employment, and

present whereabouts of all witnesses known to you having knowledge of relevant information,

facts or circumstances in this action?
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 41 of 78




                                                  16.

         Identify all persons who witnessed Defendant Bryant constune any drug or alcoholic

beverage within the twelve (12) hour period immediatelv preceding the subject accident.

                                                 17.

        Identify all persons who liave funiished statements, signed or unsigned, to you, your

representative or attorney.

                                                 18.

        Pursuant to the provisions of O.C.G.A, § 9-11-26 (b)(4)(A)(i), Defendant is requested to

identify each person whom Defendant expects to call as an expert witness at trial, state the

subject matter on which such expert is expected to testify, and state the substance of the facts and

opinions to which the expert is expected to testify and the stunmary of the grounds of each

opinion.

                                                 19.

        If you have retained or employed an expert in anticipation of litigation or preparation for

trial who is not expected to be called as a witness at trial, please identify and state specifically

the name and address of each such expert.

                                    COi.LISI®N INF®RNIATI®N



        Where had the semi-truck you owned which was involved in the subject accident been

prior to this collision, where was it going at the time of the subject accident, and what time was it

due to arrive at its destination?
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 42 of 78




                                                 21.

        What speed do you contend the semi-truck driven by your employee and/or agent,

 Defenda.nt Bryant was traveling at the time of the accident?

                                                22.

        State in detail your version of how the subject accident occurred, including what was

done to avoid the accident, and whether, at the first moment Defendant Bryant saw Plaintiff s

vehicle, it was stopped or moving, and, if it was moving, its direction and speed of travel.

                                                23.

        State the substance of every utterance made by your employee and/or agent, Defendant

Bryant, or to him at the scene of the accident and identify the speaker by name, if known, or by

any other facts which might lead to the discovery of the speaker's identity.

                                                24.

       If your employee, Defendant Bryant, received a citation of any sort as a result of this

accident, state the nature of same, the dispositions made and the court involved.

                                                25.

       To your knowledge, inforniation or belief, are there any photographs, drawings, or videos

of the scene of the incident complained of, any vehicle or other physical object involved in the

incident, or any person (including any party) involved in the incident? If so, please describe each

individual photograph, drawing, or video with specificity, including, but not limited to, the date

made, by whom it was made, the form (whether photographic print, transparency, diagram, plat,

video, etc.), the subject represented, all facts represented or shown, and the present location and

the name of the person having possession, custody or control.
        Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 43 of 78




       Respectftilly submitted this   ~ r ~ day of                      , 2019.




                                                     David Dozier
                                                     Georgia Bar No. 228898
                                                     Atkorney for Plaintiff




DOZIER LAW FIRIv1, LLC,
327 Third Street
P. O. Box 13
Macon, Georgia 31202-0013
(478)742-8441
              Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 44 of 78
    ,
l                                                                                           7~ "' EFILED IN OFFICE
                                                                                           CLERK OF STATE COURT
                                                                                           BIBB COUNTY, GEORGIA

                                                              'I"Y
                               IN THE STATE COUIZT ®F BIBB C®UN'                        1 9mSCCV-®89988
                                                                                                         JBF9
                                        S'I'ATE ®F GE®RGIA                                lUiAlf 20, 2019 11:44 AM

                                                                                                           ~~ .~
                                                                                            Patricia A. Gravas, lerk uf State Courf
        CHARLES WASH,                                                                                        Bibb Coun;y, Georgia




            Plaintiff,                                    Civil Action No.

        v

        JASON D. BRYANT,
        ZIPP EXPRESS, LLC, and
        GREAT WEST CASUALTY COMPANY,

            Defendants.


                         PI,AI1ti1TiFF'S FII2S'I' REQIJEST F®R PRODI1CTION T®
                          DEFENDANT GREAT WES'I' CASIJAI,TY COPvIPANY


            COIv1ES NOW CHARLES WASH, Plaintiff in the above-captioned case, and hereby

    requests the above-named Defendant, Great West Casualty Company, to produce and permit

    Plaintiff, or someone acting oii Plaintiff's behalf, to inspect and copy the following designated

    documents (including writings, drawings, graphs, charts, photographs, videos, and other data

    compilations fTom which information can be obtained or translated, if necessary, by the

    respondent through detection devices into a reasonably useable form) or to inspect and copy, test

    or sainple any of the following designated tangible things, which constitute or contain matters

    within the scope of Rule 26b of the Georgia Civil Practice Act, O.C.G.A. § 9-11-26(b), and

    which are in the possession, custody or control of the party whom these requests are served.

            The production of docunients and things herein below designated shall be made in the

    law offices of Plaintiff's undersigned counsel of record.

            NOTE A: Should any document or thing herein requested come into existence or become

    known to you or your attorney subsequent to your receipt of this request or subsequent to the
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 45 of 78




 inspection or other means of producing said documents or things herein below requested, this

 request shall be deemed to be continuing in nature.

         hTOTE B: As an alternative to producing the documents or other evidence of tivriting

 herein below designated at the time, date and place above specified, you may photostat true,

 correct and genuine copies of such requested docunients or other evidence of writing and attach

same to yotir formal response to the within and foregoing Request for Production and serve same

upon the undersigned counsel within thirty (30) days for the date of service of this request.

                                  REQI(TEST F®R PROD1;JCTT®N



        Any and all docunients, inclusive of written or recorded statements or writings or

memoranda made or prepared (whether manually, mechanically or electronically) by you (or yotir

representative) in support of any allegation that you are not liable to Plaintiff for injuries or damages

resulting from the collision.

                                                    2.

        Any and all documents and things, including pictures, videotapes, audio tapes, diagrams,

graphs, surveys, measurements, or other written or pictorial descriptions in support of any allegation

that Plaintiff should not recover those damages claimed in this lawsuit.

                                                   c~


        Any and all tape recordings or electrical or mechanical recordings or transcriptions of any

type or nature evidencing communications and statements by or between Plaintiff, his/her agents,

representatives, servants or employees, and you, your agents, representatives, servants and/or

employees, relating to the allegations in this lawsuit.
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 46 of 78




                                                     Q

         Any and all documents identified by you in response to Plaintiff's First Intei-rogatories.

                                                     5.

         Any documents consisting of, evidencing, referring or relating to any commtmications,

 written or oral, by or between the named Defendants' agents, representatives, servants or

employees, and you from the date of the collision made the basis of this lawsuit to the present time.

                                                     6.

         A complete certified copy of every insurance policy, including all attachtnents, riders and

addenda, issued by you which is or inay be applicable to Plaintiff's clauns.

                                                     7.

        A copy of any damage appraisal and/or repair invoice regarding any vehicle involved in the

subject accident, made subsequent to the collision.



        Any and all drawings, maps, sketches, or videos of the location of the collision that is the

subject of tlus litigation.

                                                    9.

        Any and all settlement agreements, wherein you have arrived at a settlement or agreement

between you and any other person, whether or not a party to this lawstut, regarding or pertaining to

tlie collision which is the subject of this litigation, or any daniages resulting therefrom.

                                                   10.

        A copy of any movies, photos, videotapes, or pictures made of any relevant matter in this

lawsuit, includ'uig any people, places or tlungs involved in the accident.
           Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 47 of 78




                                                   11.

         A copy of any tape-recorded conversations wherein Plaintiff is a pa.rticipant in any such

 conversation.

                                                   12

         Any and all expei-ts' reports, which have been prepared in connection with this lawsuit or

the incident giving rise to this lawsuit, if the expert is expected to or may testify in this cause as

 an expert. If any such expert has not prepared a report, request is hereby made that one be

prepared and' furnished to Plaintiff's attorney.

                                                   13.

         Any and all expert reports that were or will be relied upon in whole or in part by any

testifying expert in this case.

                                                   14.

        Any and all work papers, notes and documents in the file of any expert witness who is

expected to testify, or in the file of any expert witness who has written a report which is or will

be relied upon in whole or in part by a testifying expert.

                                                   15.

        A curriculum vita or resume for each individual whom you may call as an expert witness

at the trial of this case.

                                                   16.

        All documents or tangible things prepared by any expert whom you expect to call as a

witness, including but not limited to those which wotild include his report, factual observations,

opinions, conclusions, photographs, videos, field notes, calculations, models and exhibits.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 48 of 78




                                                     17.

        With regard to any expert einployed by you in this case, produce copies of the front and

back of canceled checks evidencing payments made by you at any time for work performed by any

such expert (wliether testifying or consulting).

                                                     W-1

        Ail investigative and/or incident "reports" generated by or on your behalf.

                                                    19.

        Copies of any witness fact statements (including statements made by Plaintiff or by the

investigating officer) that are relevant to the collision.

                                                    20.

         Pursuant to O.C.G.A. § 9-11-34 Plaintiffhereby requests copies of any and all documents

obtained by you as a restilt of a non-party request for production of documents.



RESP®lotD AS REQLTIRED BY LAW




                          [SIGNATURE ON THE FOLLOWING PAGE]
        Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 49 of 78




      Respectfully submitted this
                                    ql~ dayof     s                 2019.




                                                 v
                                                6~ ~                        Lv   ~
                                                David Dozier
                                                Georgia Bar No. 228898
                                                Atton7ey for Plauitiff



DOZIER LAW FIIUM, LLC.
327 Third Street
P. O. Box 13
Macon, Georgia 31202-0013
(478) 742-8441
              Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 50 of 78
                                                                                           ~~~~ EFILED IN OFFICE
p
                                                                                           CLERK OF STATE COURT
                                                                                           BIBB COUNTY, GEORGIA

                             IN THE STATE C®>L1R'I' ®F BIBB C® €TNTY
                                                                                          1 9-SCCV-089988
                                                                                                         JBF!
                                       STATE OF GE®RGIA                                   Ill9AV 20, 2019 11:44 AM

                                                                                      _      ~~`~5~,.'4
                                                                                            Patricia ~d. Graves, lerk of State Court
                                                                                                              BiUh County, Georgia
    CHARLES WASH,

           Plaintiff.                                    Civil Action No.

    V.


    JASON D. BRYANT,
    ZIPP EXPRESS, LLC, and
    GREAT WEST CASUALTY COMPANY,

           Defendants.


                        PLAIN`I'IFF'S FIRS`1[` REQi1EST FOR PRODUCTION TO
                                   DEFENDAN'I' JASON D. BR'4'ANT



             COMES NOW CHARLES WASH, Plaintiff in the above-captioned case, and hereby

    requests the above-named Defendant, Jason D. Bryant, to produce and permit Plaintiff, or

    someone acting on Plaintiff's behalf, to inspect and copy the following designated documents

    (including writings, drawings, graphs, charts, photographs, and other data compilations froni

    which information can be obtained or translated, if necessary, by the respondent through

    detection devices into a reasonably useabie form) or to inspect and copy, test or sample any of

    the followina designated tangible things, which constitute or contain matters within the scope of

    Rule 26b of the Georgia Civil Practice Act, O.C.G.A. § 9-11-26(b), and which are in the

    possession, custody or control of the party whom these requests are sei-ved.

             The production of documents and things hereinbelow designated shall be made in the

    law offices of Plaintiff's undersigned counsel of record.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 51 of 78




          1\t®TE A: Should any document or thing herein requested come into existence or

 become known to you or your attorney subsequent to your receipt of this request or subsequent

 to the inspection or other means of producing said documents or things hereinbelow requested,

 this request shall be deemed to be continuing in nature.

          1VflTE B: As an alternative to producing the documents or othe2• evidence of writing

 hereinbelow designated at the time, date and place above specified, you may photostat tnie,

correct and genuine copies of such requested documents or other evidence of writing and attach

same to your foi7nal response to the within and foregoing Request for Production and serve sanie

upon the undersigned counsel within thirty (30) days for the date of service of this request.

                                RE(?UEST EOR PE.ODUCTiOt°t'



         In the event that Defendant was licensed to operate a motor vehicle at the time of the

incident referred to in the complaint in this action, or is presently licensed to operate a motor

vehicle, please produce, as hereinabove requested, Defendant's driver license(s) or an accurate

and legible photostatic copy thereof.

                                                 2.

         Please produce, as hereinabove requested, a copy of your driving record for the past

seven (7) years.

                                                 3.

         Please produce, as hereinabove requested, any and all photographs, sketches,

transparencies, drawings, or videos of aiiy person, party, vehicle, roadway, scene, or any other

object or thing relative to the incident referred to in the complaint of this action and the subject

matter thereof.



                                                 2
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 52 of 78




                                                 4.

          Please produce, as hereinabove requested, any and all accident reports concerning the

 subject accident, including any that were prepared by you or on your behalf.

                                                5.

          Please produce, as liereinabove requested, any and all daniage appraisals and repair

invoices of Defendaiit's semi-truck.

                                                im

         Please produce, as hereinabove requested, the title to the semi-truck driven by the

Defendant at the time of the subject accident, or the lease papers or contracts if said vehicle was

not owned by Defendant.

                                                7.

         Please produce, as hereinabove requested, all equipment and maintenance records on

the subject semi-truck.

                                                ~

         Please produce, as hereinabove reqtiested, any and all written or recorded statements

niade by any witness, party or other person having relevant inforniation or knowledge of any fact

or circumstance in this action.

                                                a

         Please produce, as hereinabove requested, all surveillance videos or photographs which

have been made for the PIaintiff.




                                                3
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 53 of 78




                                                 1[~a


          Please produce, as hereinabove requested, any and all reports, whether written or

 otherwise recorded, made by any expert or experts who have been retained or otheitivise

employed by Defendant in anticipation of litigation or preparation for trial in this action.

                                                 11.


         Please produce, as hereinabove requested, any and alI insurance agreements, contracts,

and/or policies tmder which any person or corporation carrying on an insurance business may be

liable to satisfy part or all of any judgment which may be entered in this action or to indemnify

or reimburse for payments made to satisfy the judgment, incltiding but not limited to any liability

insurance policy covering Defendant or the motor vehicle being driven by Defendant at the time

of the subject accident.

                                                12.


         Please produce, as hereinabove reqiiested, all settlement agreements, in which you have

arrived at a settlement or agreement between you and any other person, whether or not a party to

this action, regarding or pertaining to the subject incident or any damages resulting therefrom.

                                                13.


       Ptease produce any and all records for any mobile communications device that you had in

your possession at the time of, or immediately prior to, the collision which forms the basis of

Plaintift's Complaint.




                           [SIGNATURE Ori THE FOLLOWING PAGE]



                                                In
             Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 54 of 78

,.



            Respectfi.illy submitted this   )   day of                          , 2019.




                                                               ~          ~ 7             ~• -~

                                                          avid Dozier                       j
                                                         Georgia Bar No. 228898
                                                         Attorney for Plaintiff



     DOZIER LAW FIRIvI, LLC.
     327 Third Street
     P. O. Box 13
     Macon, Georgia 31202-0013
     (478) 742-8441
               Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 55 of 78
    h

.                                                                                             I' EFILED IN OFFICE
                                                                                              CLERK OF STATE COURT
                                                                                              BIBB COUNTY, GEORGIA
                                                                                         1 9©GCCV-®89988
                              IId THE STATE COdJRT OF BIBB C'OITNTY                                        JBH
                                        STATE OF GEORGIA                                    MAY 20, 2019 11:44 AM

                                                                                             Qa-u~~..
                                                                                      - - - Patricia FA. Gravea, lerk of Stato Court
                                                                                                                Bibb County, Ge_orgia
         CHARLES WASH,

                Plaintiff,                                     Civil Action No.

        LIM


        JASON D. BRYAitiTT,
        ZIPP EXPRESS, LLC, and
        GREAT WEST CASUALTY COMPANY,

                Defendants.


                      P1L,AINTIF>F'S FIRS'I' REQiJEST F®I2 PRODIJC'TION TO
                               DEFEI°dDANT ZII'P EXPRESS, LLC



                COMES NOW, CHARLES WASH, Plaintiff in the above-captioned case, and

        hereby requests the above-named Defendant, Zipp Express, LLC to produce and permit

        Plaintiff, or someone acting on Plaintiffs behalf, to inspect and copy the following

        designated docurnents (including writings, drawings, graphs, charts, photographs, and

        other data compilations from which information can be obtained or translated, if

        necessary, by the respondent through detection devices into a reasonably useable form) or

        to inspect and copy, test or sample any of the following designated tangible things, which

        constitute or contain matters within the scope of Rule 26b of the Georgia Civil Practice

        Act, O.C.G.A. § 9-11-26(b), and which are in the possession, custody or control of the

        party whom these requests are served.

               The production of documents and things herein below designated shall be made in

        the law offices of plaintiff s undersigned counsel of record.
      Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 56 of 78




           NOTE A: Should any document or thing herein requested come into existence or

 become known to you or your attorney subsequent to your receipt of this request or

 subsequent to the inspection or other means of prodticing said documents or things herein

 below requested, this request shall be deeined to be continuing in nature.

           NOTE B: As an alternative to producing the documents or other evidence of

w-riting herein below designated at the time, date and place above specified, you may

photostat true, correct and genuine copies of such requested documents or other evidence

of writing and attach saine to your formal response to the within and foregoing Request

for Production and serve same upon the undersigned counsel within thirty (30) days for

the date of service of this request.

                             RRF,QUE' ST FC3R PRDI3i1CTI0N

                                             1.

        In the event that Defendant's employee and/or agent, Defendant Bryant was

licensed to operate a motor vehicle at the time of the incident referred to in the complaint

in tl]ls action, or is presently licensed to operate a motor vehicle, please produce, as

hereinabove requested, his driver license(s) or an accurate and legible photostatic copy

thereof.

                                            ~


       Please produce, as hereinabove requested, a copy of Defendant Bryant's driving

record for the past seven (7) years.
                                            -,
                                            ~


       Please produce all contents of the driver qualification file you are required to

maintain under federal law for your employee and/or agent, Defendant Bryant.
      Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 57 of 78




                                              M

        Please prodtice the results of the post-collision drug screen for your employee

and/or agent, Defendant Bryant, that was required to be held tinder federal law.

                                              J.

        Please produce, as hereinabove requested, any and all photographs, sketches,

transparencies, drawings, or videos of any person, patiy, vehicle, roadway, scene, or any

other object or thing relative to the incident referred to in the complaint of this action and

the subject matter thereof.

                                              31

        Please produce, as hereinabove reqtiested, any and all accident reports concerning

the subject accident, including any that were prepared by you or on your behalf.

                                             7.

       Please produce, as hereinabove requested, any and all damage appraisals and

repair invoices of the semi-truck operated by Defendant Bryant at the time of the subject

accident.



       PIease produce, as hereinabove requested, the title to the semi-truck driven by the

Defendant's employee and/or agent, Deferidant Bryant, at the time of the subject

accident, or the lease papers or contracts if said vehicle was not owned by Defendant.

                                             a
       Please produce, as hereinabove requested, all equipment and maintenance records

on the subject semi-truck.
      Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 58 of 78




                                             10.

        Please produce, as hereinabove requested, any and all written or recorded

 statenients inade by any witness, party or other person having relevant inforrnation or

 knowledge of any fact or circiunstance in this action.



        Please produce, as hereinabove requested, all surveillance videos or photographs

which have been made for the Defendant.

                                             12.

        Please produce, as hereinabove requested, any and all reports, whether written or

otherwise recorded, made by any expert or experts who have been retained or otherwise

employed by Defendant in anticipation of litigation or preparation for trial in this action.

                                             13.

        Please produce, as hereinabove requested, any and all iiisurance agreements,

contracts, and/or policies under which any person or corporation carrying on an insuraiice

business may be liable to satisfy part or all of any judgment which niay be entered in this

action or to indemnify or reimburse for payments made to satisfy the judgment, including

but not limited to any liability insurance policy covering defendant or the automobile

being driven by Defendant at the time of the subject accident.

                                            14.

       Please produce, as hereinabove requested, all settlement agreements, in which you

have arrived at a settlement or agreement between yoti and any other person, whether or

not a party to this action, regarding or pertaining to the subject incident or any damages

resulting therefrom.
    Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 59 of 78




IaESPOND AS REQUI1tED BY LAW




               [SIGNATLrRE ON THE FOLLOWING PAGE]
     Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 60 of 78



                                       «I
      1?Lespcctfully subniitted this        l day of                       , 2019.




                                                       David Dozier
                                                       Georgia Bar No. 228898
                                                       Attorney for Plaintiff




DOZIER LAW F1RM, LLC.
327 Third Street
P. O. BoY 13
Macoii, Georgia 31202-0013
(478)742-8441
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 61 of 78

                                                                                             ~~~ EFILE® IN OFFICE
                                                                                             CLERK OF STATE COURT
                                                                                             BIBB COUNTY, GEORGIA

                          IN 'I'IJE S'I'ATE COi1R'I' ®I+ BIBB C®IJN'I'Y
                                                                                        1 9mSCCV®089988
                                                                                                           JBH
                                        STATE (31a' GEORGIA                                 nliAY 20, 2019 11:44 AfUd


                                                                                              Patr~lci~a M. Graves, lerk ot SWte Court
                                                                                                                Bib6 Coun,y, Georgia
CHARLES WASH,

        Plaintiff,                                    Civil Action ItiTo.

v

JASON D. BRYANT,
ZIPP EXPRESS, LLC, and
GREAT WEST CASUALTY COMPANY,

       Defendants.


                     PLAINTIFF'S FIRS'I' itLQiTLST FOR ADMISSIOloiS TO
                             BLFENDANT JASOTd D. BRYANT


       COMES ~TOW CHARLES WASH, Plaintiff in the above-captioned case, and, pursuant

to O,C.G.A. §9-11-36(a), requests the above-named Defendant, Jason D. Bryant, to admit the

following in writing as required by statute:




       You have been correctly narned in the present cause insofar as the legal designation of
names is concerned.

                                                 2.

       You have been properly served as a party defendant.

                                                 3.

       Process and service of said process is sufficient with regard to you in this case.

                                                4.

       Bibb County State Court has jurisdiction over the subject matter of this case.
          Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 62 of 78




                                                  5.

        Bibb County State Court has personal jurisdiction over you as a party in this case.

                                                  up
        Venue is proper in Bibb County State Court.

                                                  7.

        Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

Plaintiff's Complaint, you followed too closely, in violation of O.C.G.A. § 40-6-49.



        Admit that by following too closely, you caused the May 22, 2017, motor vehicle

collision that forms the basis of the Plaintiff s Complaint.

                                                  a

        Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of the

Plaintiff's Complaint, you failed to keep a proper lookout.

                                                 10.

       Admit that your failure to keep a proper lookout caused the May 22, 2017 motor vehicle

collision that forms the basis of the Plaintiff's Complaint.



       Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

PlaintifPs Complaint, you failed to make a timely and proper application of your brakes.

                                                12.

       Admit that your failure to timely and properly apply your brakes caused the May 22,

2017, motor vehicle collision that forms the basis of the Plaintiff's Complaint.




                                                 2
              Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 63 of 78

r




                                                      13.

            Admit that, during the May 22, 2017, vehicle collision that forms the basis of Plaintiff's

    Complaint, you failed to sound or signal a waniing.

                                                      14.

            Admit that your failure to sound or signal a warning caused the May 22, 2017, motor

    vehicle collision that forms the basis of the Plaintiff's Complaint.

                                                      15.

           Admit that, during the May 22, 2017, motor vehicle collision that forms the basis of

    Plaintiff's Complaint, you failed to exercise diie care in violation of O.C.G.A. § 40-6-241.

                                                      16.

           Admit that your failure to exercise due care caused the May 22, 2017 motor vehicle

    collision that forms the basis of the Plaintiffls Cornplaint.

                                                      21.

           Admit that, during the May 22, 2017 motor vehicle collision that forms the basis of

    Plaintiff's Coinplaint, you failed obey thd Uniform Rules of the Road of the State of Georgia.

                                                     18.

           Admit that your failure to obey the Uniform Rules of the Road of the State of Georgia

    caused the May 22, 2017, motor vehicle collision that forms the basis of the Plaintiff's

    Complaint.

                                                     19.

           Admit that you were negligent during the May 22, 2017, motor vehicle collision that

    forms the basis of Plaintiff's Complaint.




                                                      3
              Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 64 of 78




                                                 20.

         Admit that your negligeiice directly and proximately caused some injury to Plaintiff.

                                                21,

         Admit that your negligence directly and proximately caused the injuries alleged in

Plaintiffs Complaint.

                                                22.

         Admit that, during the May 22, 2017, motor vehicle accident that forms the basis for

Plaintiff's Complaint, you were an eniployee and/or agent of Zipp Express, LLC.

                                                23.

        Admit that, during the May 22, 2017, motor vehicle accident that forins the basis for

Plaintiff s CompIaint, you were acting under the course of your employment.



        Admit that the vehicle you were operating during the May 22, 2017, motor vehicle

accident that forms the basis for Plaintiff's Complaint was and is used to move persons or goods

for profit.

                                                25.

        Admit that, during the May 22, 2017, motor vehicle accident that forms the basis for

Plaintiff s CornpIaint, Defendant Zipp Express was and is engaged in the transportation of

persons or property as a common or contract carrier.



        RESP®ND AS REQIJIII2ED BY LAW



                         [SIGNATURE ON THE FOLLOWING PAGE]



                                                 4
        Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 65 of 78




       Respectfully submitted.this ~day of     ~`                          , 2019.




                                                             ,
                                               /2- -
                                               David Dozier
                                                                  '"
                                                                 ~)            ~~'/  ~'

                                               Georgia Bar 1*,To. 228898
                                               Attorney for Plaintiff




DOZIER LAW FIRIVI, LLC.
327 Third Street
P. O. Box 13
Macon, Georgia 31202-0012
(478) 742-8441
             Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 66 of 78
                                                                                          CLERK OF STATE COURT
                                                                              Control      BIBB :COUNTY,
                                                                                        Number           GEORGIA
                                                                                                  SOP-19069891
                                                                                        19-SCCV-089988
                              STATE OF GEORGIA                                                    JBH
                                                                                         MAY 21, 2019 03:35 PM
                                       Secretary of State
                                        Corporations Division
                                           313 West Tower
                                     2 Martin Luther King, Jr. Dr.
                                     Atlanta, Georgia 30334-1530



                         CERTIFICATE OF ACKNOWLEDGEMENT

I, Brad Raffensperger, Secretary of State of the State of Georgia, do hereby certify under the seal of my
office that copies of legal documents regarding service of process upon:

                                             Jason D. Bryant

have been filed with the Secretary of State on 05/20/2019 pursuant to O.C.G.A. § 40-12-2 relating to the
following matter:

Case: Charles Wash v. Jason D. Bryant
Court: State Court of Bibb County
Civil Action No.: 19SCCV089988




                                                Witness my hand and official seal in the City of Atlanta
                                                and the State of Georgia on 05/21/2019.
                                   Case 5:19-cv-00257-MTT Document
                   SHERIFF'S ENTRY OF SERVICE                       1-1 Filed 06/27/19 Page 67
                                                                SC-$5-2                         of 78
                                                                                            CLYDE CASTLEBERRY CO., COVINGTON, GA 30015


                                              ~ ~L ~ , o Q ~ ~          Superior Court   ❑       Magistrate Court                   ❑
                                           ~ q ~~                                                         State Court                  ~           Probate Court                 ❑
                   Civil Action No.                                        t~ (
                                                                                                          Juvenile Court               ❑
                   Date Filed        20                      c, 19                                        Georgia,              ~~~                       -         COUNTY

                                                                                                                            l ys WlkS ~n                                                 _
                   Attorney's Address ~ ~V tG~ k1u ✓
                                                   ~ i2` ~
                                                                                                                                                                          Plaintiff
                                                                                                                                           vs.
                                                                                                                           6xe(-'sS                c,
                   Name and Address of Party to be Served.
                                wes1- CO-sLt 1"1                 6-12 P.n~                                       C~<~G-~   ti~[s ~ CAs UGL,t ~y CbrK;'41A.\/
                                                                                                                                                                       Defendant

    ..-                   TPG~'r`ty~Gcr
                                    , , ~! ~~~W .gl ~I c~'Pn               a~ ~DO

                          ~U® c~oss ~O ✓k 3Ut~ ~
                                             '                                                                                                                         Garnishee
                                                                            SHERIFF' S ENTRY OF SERVICE


          z        I have this day served the defendant                                                                                                       personally with a copy
      O
      ~        ❑ of the within action and summons.
      [C                                                                                                                                   '


                   I have this day served the defendant                                                                                                                 by leaving a
                   copy of t}ie action and summons at his most notorious place of abode in this County.

               ❑   Delivered same into hands of                                                                                                                described as follows: `
                   age, about                years; weight                  pounds; height, about _                  feet and                  inches, domiciled at the residence of
                   defendant.

t
           Served the defendant     t ~ ~~' ~ ~    "' E ~~    ~~, 7 v ~ ~ ~ ~ ~                       Cf ~ ~                                                           a corporation
t0                                                                                                           !
  cr~ by leaving a copy of the within action and summons with                                       dl ~>> 1 ti 1
          a ~      in charge of the office and place of doing business of said Corporation in this County.
          tr
          O
          O
          J
          Q        I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises designated in said
          2        affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an enJelope properly addressed to the
          .6
          U    ❑   defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
          ~        place stated in the summons.




          ca     Diligent search made and defendant
          w
          z    ❑ not to be found in the jurisdiction of this Court.
          O
          z

                   This         day of       ~} ~                     20
                                                 t



                                                                                                                                   ~                                      DEPUTY

                                                                 ~--:

                   SHERIFF DOCKET.                  PAGE                                                         s
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 68 of 78



                             IN THE STATE COURT OF BIBB COUNTY
                                      STATE OF GEORGIA

 CHARLES WASH,

               Plaintiff,                              CIVIL ACTION
                                                       FILE NO.: 19-SCCV-089988-JBH
 v.

 JASON D. BRYANT, ZIPP EXPRESS, LLC
 and GREAT WEST CASUALTY
 COMPANY

               Defendants.

 SPECIALLY APPEARING DEFENDANTS JASON D. BRYANT, ZIPP EXPRESS, LLC
         AND DEFENDANT GREAT WEST CASUALTY COMPANY’S
          ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT

            COME NOW, specially appearing Defendants Jason D. Bryant, Zipp Express, LLC and

Defendant Great West Casualty Company (hereafter “Defendants”) and file their Answer and

Defenses to Plaintiff’s Complaint as follows:

                                    PRELIMINARY STATEMENT

            The discovery process, including depositions of parties and witnesses, has not occurred,

and Defendants reserve the right to amend these responses hereto and add or delete affirmative

defenses based upon facts to be determined in the discovery process.

                                           FIRST DEFENSE

            As to Defendants Jason D. Bryant and Zipp Express, LLC, Defendants plead insufficiency

of process, as they have not been properly served with the Summons and Complaint in this matter.

                                          SECOND DEFENSE

            Plaintiff’s Complaint fails to state a claim against these Defendants upon which relief can

be granted.




M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 69 of 78



                                           THIRD DEFENSE

            Plaintiffs’ injuries, if any, were caused by an unforeseeable intervening third party

tortfeasors and/or the acts or failure to act of persons or entities other than these Defendants.

                                          FOURTH DEFENSE

            At the time and place of the incident referenced in the Complaint, Defendant Bryant was

faced with a sudden emergency caused by the negligence of others.

                                            FIFTH DEFENSE

            Plaintiff’s injuries, if any, were caused by his own contributory/comparative negligence.

                                           SIXTH DEFENSE

            To the extent shown by the evidence and discovery, these Defendants preserve the defenses

of failure to avoid consequences, last clear chance, failure to exercise ordinary care, failure to

mitigate damages, estoppel and waiver.

                                         SEVENTH DEFENSE

            Defendant Zipp Express, LLC was discharged in bankruptcy; therefore, Defendant Zipp

Express, LLC is no longer a legal entity and is an improper party to this lawsuit. Accordingly,

Defendant Zipp Express, LLC should be dismissed from this case as an improper party.

                                          EIGHTH DEFENSE

            Plaintiff’s Complaint against the Defendants is barred by the applicable statute of

limitations; therefore, Plaintiff’s Complaint against Defendants should be dismissed.

                                           NINTH DEFENSE

            Plaintiff’s Complaint against the Defendants is barred by the doctrine of laches; therefore,

Plaintiff’s Complaint against the Defendants should be dismissed.




M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 70 of 78




                                           TENTH DEFENSE

            Defendant Great West Casualty Company is an improper party to this action; therefore

Plaintiff’s Complaint against Defendant Great West Casualty Company should be dismissed.

                                         ELEVENTH DEFENSE

            Pending further investigation and discovery, these Defendants reserve the right to assert

all affirmative defenses available under the Georgia Civil Practice Act

                                         TWELFTH DEFENSE

            Without waiving the above-enumerated defenses, Defendants respond to the numbered

paragraphs of Plaintiff’s complaint as follows:

                              PARTIES, JURISDICTION, AND VENUE

                                                     1.

            Defendants are without knowledge as to the averments contained in Paragraph 1 of

Plaintiff’s Complaint. These allegations are therefore denied.

                                                     2.
            Defendant Bryant admits that he is a resident of Tennessee, and resides at the address listed

in Paragraph 2 of Plaintiff’s Complaint. Defendant Bryant denies that he is subject to the

jurisdiction and venue of this Court.

                                                     3.

            Defendant Zipp Express, LLC is no longer a legal entity. Defendant Zipp Express, LLC

admits that at the time of this accident, its principal place of business was located in Tennessee.

This Defendant denies that it is subject to the jurisdiction and venue of this Court.




M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 71 of 78



                                                    4.

            Defendants admit that Defendant Bryant was an employee of Zipp Express, LLC and was

operating in the course and scope of his employment at the time of the incident. Except as

expressly admitted, Defendants deny the remaining allegations contained in Paragraph 4 of

Plaintiffs’ Complaint.

                                                    5.

            Defendant Great West admits that its principal office is located in Nebraska. Defendant

Great West denies that it is properly a party to this action. This Defendant further denies that it is

subject to the jurisdiction and venue of this Court.

                                                    6.

            Defendant Great West admits that it issued a policy of insurance to Zipp Express the

terms and conditions of which speak for themselves. Except as express admitted, all other

averments contained in Paragraph 6 of Plaintiff’s Complaint are denied.

                               GENERAL ALLEGATIONS OF FACT

                                                    7.

            Defendants hereby incorporate their responses to Paragraphs 1-6 and all their affirmative

defenses as if fully contained herein.

                                                    8.
            Defendants admit generally that the subject accident happened on the evening of May 22,

2017 on Interstate 16. Defendants further admit that Plaintiff was driving a 2016 Nissan Altima.

Defendants deny any remaining averments contained in Paragraph 8 of Plaintiff’s Complaint.

                                                    9.

            Defendants admit that Defendant Bryant was driving within the course and scope of his

employment with Zipp Express, LLC at the time of the subject accident. Defendants admit that


M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 72 of 78



Defendant Bryant was driving a 2016 Freightliner on Interstate 16 at the time of the accident.

Except as expressly admitted, Defendants deny the remaining allegations contained in Paragraph

9 of Plaintiff’s Complaint.

                                                   10.

            Defendants deny that averments set forth in Paragraph 10 of Plaintiff’s Complaint.

                                                   11.

            Defendants deny the averments set forth in Paragraph 11 of Plaintiff’s Complaint.

                                                   12.

            Defendants admit the averments set forth in Paragraph 12 of Plaintiff’s Complaint.

                                                   13.

            Defendants admit the averments set forth in Paragraph 13 of Plaintiff’s Complaint.

                                                   14.

            Plaintiff’s Complaint does not contain a Paragraph 14. However, to the extent it is

necessary, Defendants deny any averments contained in any Paragraph 14 are denied.

                                                   15.
            Defendants deny the averments set forth in Paragraph 15 of Plaintiff’s Complaint.

                                                   16.

            Defendant Great West admits that it issued a policy of insurance to Zipp Express the

terms and conditions of which speak for themselves. Except as express admitted, all other

averments contained in Paragraph 16 of Plaintiff’s Complaint are denied.

                                                   17.

            Defendants deny the averments set forth in Paragraph 17 of Plaintiff’s Complaint.

                                                   18.

            Defendants deny the averments set forth in Paragraph 18 of Plaintiff’s Complaint.


M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 73 of 78



                      COUNT 1: NEGLIGENCE OF DEFENDANT BRYANT

                                                   19.

            Defendants hereby incorporate their responses to Paragraphs 1-18 and all their

affirmative defenses as if fully contained herein.

                                                   20.

            Defendants state that Paragraph 20 of Plaintiff’s Complaint sets forth a legal conclusion

and does not require a response. However, to the extent a response is required, Defendants admit

that the laws of the State of Georgia are applicable to this case. Except as expressly admitted,

Defendants deny the remaining allegations contained in Paragraph 20 of Plaintiffs’ Complaint.

                                                   21.

            Defendants deny the averments set forth in Paragraph 21 of Plaintiff’s Complaint.

Specifically, Defendants deny the averments contained in subparts (a) through (f) of Plaintiff’s

Complaint.

              COUNT II: VICARIOUS LIABILITY OF DEFENDANT ZIPP EXPRESS
                                                   22.

            Defendants hereby incorporate their responses to Paragraphs 1-21 and all their affirmative

defenses as if fully contained herein.

                                                   23.

            Defendants admit that Mr. Bryant was operating in the course and scope of his employment

with Zipp Express, LLC at the time of the incident. Defendants deny as stated the remaining

allegations set forth in Paragraph 23 of Plaintiffs’ Complaint. Specifically, Defendants deny that

Defendant Bryant was an “agent” as set forth in Paragraph 23 of Plaintiff’s Complaint.




M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 74 of 78



                                                    24.

            Defendants admit that Mr. Bryant was operating in the course and scope of his employment

with Zipp Express, LLC at the time of the incident. Defendants deny as stated the remaining

allegations set forth in Paragraph 24 of Plaintiffs’ Complaint. Specifically, Defendants deny that

Defendant Bryant was in an agency relationship with Defendant Zipp Express, LLC as set forth in

Paragraph 24 of Plaintiff’s Complaint.

                                                    25.

            Defendants admit that Mr. Bryant was operating in the course and scope of his employment

with Zipp Express, LLC at the time of the incident. Defendants deny as stated the remaining

allegations set forth in Paragraph 25 of Plaintiffs’ Complaint.

                   COUNT III: NEGLIGENCE OF DEFENDANT ZIPP EXPRESS

                                                    26.

            Defendants hereby incorporate their responses to Paragraphs 1-25 and all their affirmative

defenses as if fully contained herein.

                                                    27.
            Plaintiff’s averment in Paragraph 27 sets forth a legal conclusion, and does not require an

answer. To the extent and answer to this averment is required, Defendants deny the allegations

set forth in Paragraph 27 as they are stated.

                                                    28.

            Defendants deny the allegations set forth in Paragraph 28 of Plaintiff’s Complaint.

                                                    29.

            Defendants deny the allegations set forth in Paragraph 29 of Plaintiff’s Complaint.

                                                    30.

            Defendants deny the allegations set forth in Paragraph 30 of Plaintiff’s Complaint.


M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 75 of 78



                                                   31.

            Defendants deny the allegations set forth in Paragraph 31 of Plaintiff’s Complaint.

                   COUNT IV: LIABILITY OF GREAT WEST CASUALTY COMPANY

                                                   32.

            Defendant hereby incorporates their responses to Paragraphs 1-31 and all their affirmative

defenses as if fully contained herein.

                                                   33.

            Defendants deny the allegations set forth in Paragraph 33 of Plaintiff’s Complaint as

stated.

                                                   34.

            Defendants admit that Great West issued a policy of insurance to Zipp Express the terms

and conditions of which speak for themselves. Except as express admitted, all other averments

contained in Paragraph 34 of Plaintiff’s Complaint are denied.

                                                   35.

            Defendants deny the allegations set forth in Paragraph 35 of Plaintiff’s Complaint.

                                     DAMAGES OF PLAINTIFF
                                                   36.

            Defendant hereby incorporates their responses to Paragraphs 1-35 and all their affirmative

defenses as if fully contained herein.

                                                   37.

            Defendants deny the averments contained in Paragraph 37 of Plaintiff’s Complaint.

                                                   38.

            Defendants deny the averments contained in Paragraph 38 of Plaintiff’s Complaint.




M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 76 of 78



                                                     39.

            Defendants deny the averments contained in Paragraph 39 of Plaintiff’s Complaint.

                                                     40.

            Defendants deny the averments contained in Paragraph 40 of Plaintiff’s Complaint.

                                                     41.

            Defendants deny the averments contained in Paragraph 41 of Plaintiff’s Complaint.

                                                     42.

           Defendants deny the averments contained in Paragraph 42 of Plaintiff’s Complaint.

                                                     43.

            Defendants deny the averments contained in Paragraph 43 of Plaintiff’s Complaint.

Specifically, Defendants deny subparts (a) through (h) of Paragraph 43 of Plaintiff’s Complaint.

                                                     44.

                                        THIRTEENTH DEFENSE

            All allegations set forth in Plaintiffs’ Complaint not specifically admitted herein are denied.

Further, these Defendants deny the allegations set forth in the “WHEREFORE” clause in

Plaintiff’s Complaint.

            Having fully answered all allegations of Plaintiff’s Complaint, Defendant respectfully

requests that it be dismissed without liability from this civil action, with all costs being cast upon

Plaintiff.

            TRIAL BY JURY OF 12 MEMBERS IS DEMANDED.




M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 77 of 78



            Respectfully submitted this 27th day of June, 2019.

                                                 MCMICKLE, KUREY & BRANCH, LLP

                                                         /s/ Kevin P. Branch

                                                 KEVIN P. BRANCH
                                                 Ga Bar No. 111839
                                                 KEN M. BARRE, III
                                                 Ga Bar No. 930966
                                                 Attorneys for Defendants
217 Roswell Street, Suite 200
Alpharetta, GA 30009
Telephone: (678) 824-7800
Facsimile: (678) 824-7801




M0507696.1 14534
            Case 5:19-cv-00257-MTT Document 1-1 Filed 06/27/19 Page 78 of 78



                                    CERTIFICATE OF SERVICE

            This is to certify that I have this day served a copy of the foregoing SPECIALLY

APPEARING DEFENDANTS JASON D. BRYANT, ZIPP EXPRESS, LLC, AND

DEFENDANT GREAT WEST CASUALTY COMPANY’S ANSWER AND DEFENSES TO

PLAINTIFF’S COMPLAINT by depositing same in the United States Mail in a properly-

addressed envelope with adequate postage thereon to:

                                              David Dozier
                                       The Dozier Law Firm, LLC
                                              P. O. Box 13
                                        Macon, GA 31202-0013
                                          Attorney for Plaintiff

            This 27th day of June, 2019.


                                                      /s/ Kevin P. Branch
                                                   _______________________________________
                                                   KEVIN P. BRANCH
                                                   For the Firm




M0507696.1 14534
